Case 9:23-cv-80512-BER Document 103 Entered on FLSD Docket 09/14/2023 Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                         Case No. 9:23-80512-CIV-ROSENBERG/REINHART

   JOHN F. MORRISON, M.D., an individual
   & MORRISON CLINIC, P.A., a Florida
   professional association,

          Plaintiffs,

   v.

   DELRAY MEDICAL CENTER, INC., a
   Florida corporation, DELRAY MEDICAL
   CENTER MEDICAL STAFF
   CORPORATION, a Florida not-for-profit
   corporation, NEUROSURGICAL
   CONSULTANTS OF SOUTH FLORIDA,
   LLC d/b/a BRAIN AND SPINE CENTER
   OF SOUTH FLORIDA, a Florida limited
   liability company, & LLOYD ZUCKER,
   M.D., an individual,

         Defendants.
  _______________________________________

   ORDER GRANTING JOINT MOTION FOR PRELIMINARY SCHEDULING ORDER
                            (ECF No. 102)

         This matter is before the Court following the parties’ consent to have me preside over the

  final disposition of this case. ECF Nos. 100, 101. The parties have filed a joint motion for a

  preliminary scheduling order (ECF No. 102) which is hereby GRANTED as follows:

                   (a)    By September 15, 2023, Plaintiffs will withdraw their 12(b)(6) Motion to

    Dismiss Defendant Delray Medical Center, Inc.’s (DMC) Counterclaims against Dr. Morrison

    (ECF Nos. 76, 79), and serve responses to Defendant Delray Medical Center, Inc.’s Second Set

    of Interrogatory Nos. 1 and 2;




                                                  1
Case 9:23-cv-80512-BER Document 103 Entered on FLSD Docket 09/14/2023 Page 2 of 3




                   (b)   By September 15, 2023, Plaintiffs will file an Answer to DMC’s

    Counterclaims;

                   (c)   By October 27, 2023, Defendant Delray Medical Center, Inc. will file a

    motion for judgment on the pleadings pursuant to Federal Rule of Civil Procedure 12(c);

                   (d)   By December 1, 2023, Plaintiffs will file their response in opposition to

    Defendant Delray Medical Center, Inc.’s motion for judgment on the pleadings pursuant to

    Federal Rule of Civil Procedure 12(c);

                   (e)   By December 18, 2023, Defendant Delray Medical Center, Inc. will file its

    reply brief in support of its motion for judgment on the pleadings pursuant to Federal Rule of

    Civil Procedure 12(c);

                   (f)   Any oral argument regarding the motion for judgment on the pleadings

    pursuant to Federal Rule 12(c) shall be scheduled to take place on or after January 29, 2024,

    unless the Parties jointly advise the Court that schedules permit an earlier date;

                   (g)   Except with respect to Defendant Delray Medical Center, Inc.’s Second Set

    of Interrogatory Nos. 1 and 2 referenced in Section (1)(a) above, all other discovery, including

    third-party discovery except for the third-party discovery referenced in Section (h) below, will

    be stayed until such time as there is a ruling on Defendant Delray Medical Center, Inc.’s motion

    for judgment on the pleadings; and

                   (h)   The following third-party discovery shall not be stayed and shall continue

    pending a ruling by Judge Reinhart on Defendant Delray Medical Center, Inc.’s motion for

    judgment on the pleadings: the parties’ pending third-party discovery related to Dr. Morrison’s

    involvement with other hospitals and medical schools and his participation in various state’s

    physician health programs.




                                                    2
Case 9:23-cv-80512-BER Document 103 Entered on FLSD Docket 09/14/2023 Page 3 of 3




                 If, following a ruling on Defendant Delray Medical Center, Inc.’s motion for

    judgment on the pleadings, the case is not dismissed by the Court or the Parties, the Parties shall:

    (1) within 14 days of any such ruling, request a scheduling hearing with the Court to discuss the

    timing of summary judgment motions, Daubert motions, motions in limine, pre-trial motions,

    and set a trial date; (2) within 30 days of any such ruling, the parties’ shall each have an

    opportunity to amend the pleadings, and (3) agree to a 6-month discovery schedule in which the

    Parties will agree to, among other things, complete document productions within 30 days of the

    Court’s ruling and complete fact and expert discovery within the subsequent 5-month period

    following completion of the Parties’ respective document productions.



         DONE and ORDERED in Chambers at West Palm Beach, Palm Beach County, in the

  Southern District of Florida, this 14th day of September 2023.




                                                 __________________________________
                                                 BRUCE E. REINHART
                                                 UNITED STATES MAGISTRATE JUDGE




                                                    3
